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Supreme Court of sew Persep

Certificate of Good Standing

This is to certify that Bradford Lee Geyer
(No. 022751991  ) was constituted and appointed an Attorney at Law of New
Jersey on December 19, 1991 and, as such,

has been admitted to practice before the Supreme Court and all other courts of this State
as an Attorney at Law, according to its laws, rules, and customs.

I further certify that as of this date, the above-named is an Attorney at Law in
Good Standing. For the purpose of this Certificate, an attorney is in “Good Standing” if
the Court’s records reflect that the attorney: 1)is current with all assessments imposed as a
part of the filing of the annual Attorney Registration Statement, including, but not
limited to, all obligations to the New Jersey Lawyers’ Fund for Clent Protection; 2)1s not
suspended or disbarred from the practice of law; 3) has not resigned from the Bar of this
State; and 4) has not been transferred to Disability Inactive status pursuant to Rule 1:20-
12.

Please note that this Certificate does not constitute confirmation of an attorney's
satisfaction of the administrative requirements of Rule 1:21-1(a) for eligibility to practice
law in this State.

In testimony whereof, I have
hereunto set my hand and
affixed the Seal of the

Supreme Court, at Trenton, this
8th day of November 2

At Blo

Clerk of thik Syfpreme Court

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